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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RICHARD KADREY, et al.,                            Case No. 23-cv-03417-VC (TSH)
                                   8                      Plaintiffs,
                                                                                            PUBLIC VERSION OF DISCOVERY
                                   9               v.                                       ORDER AT ECF NO. 366
                                  10     META PLATFORMS, INC.,                              Re: Dkt. Nos. 352, 353, 354, 355, 356, 357
                                  11                      Defendant.

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                                  13          The parties have a series of discovery disputes. ECF Nos. 352-57. The Court rules as

                                  14   follows.

                                  15   A.     ECF No. 352 (Plaintiffs’ RFAs)
                                  16          1.        Timeliness
                                  17          Plaintiffs’ motion to compel concerning Meta’s RFA responses is timely. ECF No. 253

                                  18   (“[T]his order clarifies that the deadline to raise disputes regarding additional discovery remains 7

                                  19   days after the close of discovery, as provided by Local Rule 37-3.”).

                                  20          2.        RFAs 3-7, 17, 20, 23, 34, 43, 45-91, 94 and 96
                                  21          RFAs 3-7, 17, 20, 23, 34 and 43 ask about “copyrighted books,” “copyrighted works,” and

                                  22   “copyrighted material,” and RFAs 45-91, 94 and 96 ask about Plaintiffs’ works. For RFAs 3-7,

                                  23   17, 20, 34, 34 and 43, Meta admits “text from” copyrighted books or works. For RFAs 45-89,

                                  24   Meta admits “some text from” Plaintiffs’ works, and for RFAs 90, 91, 94 and 96, Meta admits

                                  25   “text from” Plaintiffs’ works. Plaintiffs argue these responses are non-responsive, vague and

                                  26   evasive because Meta does not say whether it used a word, a phrase, a sentence, a paragraph, a

                                  27   chapter, or the whole book. Meta says that providing an exact answer would require an

                                  28   enormously burdensome word-by-word comparison not only for Plaintiffs’ books at issue but also
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                                   1   for all other copyrighted works in numerous datasets.

                                   2          The Court agrees with Plaintiffs. Meta’s argument falsely takes the view that there are

                                   3   only two possible states of knowledge the company can have: (1) it knows that at least one word

                                   4   in the copyrighted work is in the dataset, or (2) through exhaustive, time-consuming forensic

                                   5   analysis, it has determined that the dataset contains an exact copy of the copyrighted work.

                                   6   Arguing that #2 requires an impractical level of work, Meta therefore answers #1. But the Court

                                   7   sees through this false dichotomy. If it looks like a dataset contains a book, a truthful answer is:

                                   8   “admit as to substantially all of the book.” Meta is not allowed to use minor quibbles about

                                   9   whether 99% of the book as opposed to exactly 100% of it was included as a pretext for providing

                                  10   no information at all about how much of the book was included.

                                  11          Meta also claims that after having done a reasonable investigation, it concluded that it did

                                  12   not train any Llama model on the entirety of Plaintiffs’ books. But that doesn’t justify the
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                                  13   hopelessly vague “some text from” or “text from” responses. The investigation that Meta says it

                                  14   did should allow Meta to give a better answer than that, such as “admit as to substantially all of

                                  15   the book,” “admit as to about half of the book,” or “admit as to some text from the book but deny

                                  16   as to substantially all of the book.”

                                  17          The Court GRANTS Plaintiffs’ motion to compel as to these RFAs.

                                  18          3.      RFAs 7, 16, 19, 22, 26, 35, 39
                                  19          RFA 7 asked Meta to “[a]dmit that You did not obtain permission or consent from the

                                  20   relevant copyright owners to use all copyrighted books in the Datasets used to train Llama

                                  21   Models.” Meta responded that it “admits that one or more Datasets used to train its Llama Models

                                  22   contained text from published and commercially-available versions of one or more copyrighted

                                  23   books for which it did not obtain permission or consent from the relevant copyright owner(s).”

                                  24   That response is defective because RFA 7 asked about all of the datasets used to train Llama

                                  25   models and all of the copyrighted books in them. Responding that “one or more” of the datasets

                                  26   contains text from “one or more” copyrighted books for which Meta did not obtain permission or

                                  27   consent avoids the thrust of the RFA, which is to ask Meta to admit that it did not do this at all.

                                  28   Further, despite the broad sweep of this RFA, the Court doubts any effort is required to answer it.
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                                   1           RFAs 16, 19 and 22 asked Meta to admit that it used Books3, Library Genesis and The Pile

                                   2   as datasets to train one or more Llama models. In response, Meta admits that it used “a portion”

                                   3   or “some content” from those datasets. The Court agrees with Plaintiffs that these responses are

                                   4   vague and Meta’s qualifications are meaningless. Meta must provide some estimate or

                                   5   approximation so that Plaintiffs can know if Meta is almost all admitting, mostly admitting, partly

                                   6   admitting, largely denying, or almost completely denying these RFAs. Right now that’s not clear.

                                   7   The Court agrees with Meta that this is an RFA, not a rog, so Meta is not obligated to provide a

                                   8   long narrative response, but its existing responses are inadequate because they do not indicate how

                                   9   much of the RFAs are admitted or denied.

                                  10           RFA 26 asked about “copyright owners,” not “persons,” and about “negotiat[ing] licensing

                                  11   of their copyrighted material,” not “agreement[s] for access to and use of certain data that may

                                  12   include copyrighted material as training material.” Meta must answer the RFA as written.
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                                  13           RFA 35 asked Meta to “[a]dmit that Meta has not provided to Plaintiffs a list of works

                                  14   used in the Datasets used to train Llama Models.” Meta denied the RFA as to the Books3 dataset,

                                  15   saying it did produce a list of that content to Plaintiffs. For other datasets, Meta said it is not

                                  16   aware of or in possession of any lists of their content. The Court agrees with Plaintiffs that if

                                  17   Meta doesn’t have any lists of works used in other datasets, then obviously it hasn’t provided

                                  18   Plaintiffs with them, and Meta should admit that.

                                  19           RFA 39 asked Meta to “[a]dmit that You have not deleted all copyrighted material in Your

                                  20   possession after it is used for training Llama Models.” Meta answers in terms of “training data,”

                                  21   and then volunteers that it didn’t do so, in part, because of its preservation obligations. But

                                  22   Plaintiffs asked about “copyrighted material,” not training data, and they didn’t ask for a self-

                                  23   serving partial list of reasons. Meta must answer the RFA as it was asked.

                                  24           The Court GRANTS Plaintiffs’ motion to compel as to these RFAs.

                                  25           4.      RFAs 38, 44, 98
                                  26           These RFAs asked Meta to “[a]dmit that You store copyrighted material for training Llama

                                  27   Models,” “[a]dmit that if copyright holders or other content creators demanded that You not use

                                  28   their content to train Your LLM models, then You would not use their content to train Your LLM
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                                   1   models,” and “[a]dmit that you used books sourced from Books3 to train one or more of your

                                   2   large language models.” Meta claims not to understand these RFAs, but they are simple and clear,

                                   3   and the Court ORDERS Meta to answer them.

                                   4           5.     Other Qualifications
                                   5           Plaintiffs object that in dozens of the RFA responses, Meta begins its answer by saying

                                   6   “subject to and without waiving the foregoing objections,” and concludes with “[e]xcept as

                                   7   expressly admitted, Meta denies the Request.” However, the Court concludes that these phrases

                                   8   do not interject uncertainty into Meta’s answers and therefore DENIES Plaintiffs’ request to strike

                                   9   them.

                                  10   B.      ECF No. 353 (Meta’s Privilege Logs)
                                  11           Plaintiffs challenge several hundred entries on Meta’s privilege logs. However, the Court

                                  12   agrees with Meta that Plaintiffs have failed to provide a factual basis for in camera review of these
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                                  13   documents, let alone to simply overrule Meta’s claims of privilege. Further, in response to

                                  14   previous joint discovery letter briefs, the Court engaged a time-consuming in camera review of

                                  15   Meta’s documents, largely concurred in Meta’s privilege claims (ECF No. 351, addressing ECF

                                  16   Nos. 309, 334, 336), and found “no indication that Meta is abusing the privilege.” ECF No. 351 at

                                  17   7. The Court therefore DENIES Plaintiffs’ motion.

                                  18   C.      ECF No. 354 (Plaintiffs’ Motion to Reopen Depositions)
                                  19           Plaintiffs move to reopen the depositions of Melanie Kambadur, Sergey Edunov, Joelle

                                  20   Pineau, Eleonora Presani and Nikolay Bashlykov for an additional two hours each, as well as the

                                  21   deposition of Mark Zuckerberg for one additional hour. Plaintiffs state that at 10:00 p.m. on

                                  22   December 13, 2024, the last day of fact discovery, Meta produced 2,404 documents totaling

                                  23   around 21 GB of data. Plaintiffs state that the file paths of these documents indicate that hundreds

                                  24   of them were collected by Meta in June 2024 and hundreds more were collected in September

                                  25   2024. Plaintiffs complain that Meta sat on this pile of “hot” documents right until the end of fact

                                  26   discovery, preventing Plaintiffs from using them in depositions.

                                  27           Meta disagrees. It says that Plaintiffs’ first sets of RFPs, which were served in April, were

                                  28   relatively narrow. Meta says it responded to those RFPs in advance of the July substantial
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                                   1   completion deadline. Meta argues that it served responses to Plaintiffs’ fourth, fifth and sixth sets

                                   2   of RFPs on September 30, November 8 and November 18. Further, on October 4, 2024, the Court

                                   3   ordered Meta to add five additional ESI custodians. ECF No. 212. Meta contends that its

                                   4   December 13 document production reflects those custodial searches and Meta’s updated

                                   5   productions in response to Plaintiffs’ fourth through sixth sets of RFPs. Meta does not deny the

                                   6   June and September collection dates, but says it produced documents when they became

                                   7   responsive, which changed in response to the more recent RFPs.

                                   8          It seems to the Court that if Plaintiffs asked for these documents early in discovery, but

                                   9   Meta withheld them until the last day of fact discovery, then Plaintiffs have a good argument to

                                  10   reopen these depositions. On the other hand, if Plaintiffs waited until very late in fact discovery to

                                  11   ask for these documents, then Plaintiffs do not have a good argument to reopen these depositions.

                                  12          Well, which is it? Interestingly, Plaintiffs don’t say. They do not make the argument that
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                                  13   they asked for these documents early in discovery. Meta adamantly argues that these documents

                                  14   were responsive only to the later served RFPs. In response, Plaintiffs do not deny that, but

                                  15   confusingly say that “if Meta withheld these documents because they ‘weren’t responsive,’ that is

                                  16   the worst possible explanation. It means a Meta attorney reviewed these documents long ago

                                  17   (which plainly hit on Meta’s original search terms, as shown in Dkt. No. 321-2), but conveniently

                                  18   decided that all the outright admissions about how ‘LibGen is a pirated dataset’ were not

                                  19   responsive to any of Plaintiffs’ 50 original RFPs, including, but not limited to, RFPs about ‘The

                                  20   Training Data’ for Llamas 1-3 and RFPs about any efforts to license training data from copyright

                                  21   holders.” (emphasis omitted).

                                  22          But the Court does not see why that is a bad explanation, let alone “the worst possible

                                  23   explanation.” RFPs for the training data asked for the training data, and RFPs about efforts to

                                  24   license training data asked for that. While the Court understands why Plaintiffs see the newly

                                  25   produced documents as significant, the Court does not see that these documents were responsive

                                  26   to the original RFPs that Plaintiffs refer to. In sum Plaintiffs have not demonstrated that Meta

                                  27   inappropriately delayed producing these documents in discovery. Their motion to reopen the

                                  28   depositions is therefore DENIED.
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                                   1   D.     ECF No. 355 (Crime-Fraud)

                                   2          Plaintiffs seek in camera review of a number of documents, citing the crime-fraud

                                   3   doctrine. Plaintiffs argue that these documents show that Meta torrented copyrighted works in

                                   4   pirated datasets (violating the CDAFA), stripped works of CMI to conceal their copyrighted status

                                   5   (violating the DMCA), and used them to train Llama (violating the Copyright Act). Plaintiffs

                                   6   argue that Meta engaged its in-house counsel to approve, conceal, and justify this illegal scheme.

                                   7          Plaintiffs’ crime-fraud argument based on the Copyright Act appears to overlap with the

                                   8   merits of their copyright infringement claim. Plaintiffs’ crime-fraud argument based on the

                                   9   CDAFA and the DMCA overlaps with Plaintiffs’ motion for leave to file a third amended

                                  10   complaint, which would add those two claims to the case. The Court has a serious concern about

                                  11   a discovery motion that basically asks the undersigned magistrate judge to decide this lawsuit

                                  12   (including proposed additions to this lawsuit) on the merits, without a trial, in favor of the
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                                  13   Plaintiffs. That seems to get things out of order. In a case like this where liability is hotly

                                  14   disputed, the Court is not willing to embrace a crime-fraud theory that requires the Court to decide

                                  15   the contested merits of the case in order to rule on a discovery motion. Plaintiffs’ request is

                                  16   DENIED.

                                  17   E.     ECF No. 356 (Meta Documents and Data)
                                  18          1.      Torrenting Data
                                  19          Plaintiffs move to compel Meta to produce its BitTorrent client, application logs, and peer

                                  20   lists – data that reflects how much Meta downloaded and from where, and how much Meta seeded

                                  21   to the internet. Plaintiffs says these items are responsive to RFPs 85 and 119. The Court

                                  22   disagrees. RFP 85 asked for documents about the decision to use Torrent Systems, and that’s not

                                  23   what Plaintiffs are seeking. RFP 119 asked for “[a]ll Documents and Communications, including

                                  24   source code, relating to the processing of copyrighted material used in training Llama Models,

                                  25   including storage and deletion of copyrighted material,” and Plaintiffs are not asking for that

                                  26   either. ECF No. 351 at 2 (“The Court does not see how torrenting is responsive to this RFP,

                                  27   which is about the processing of data, not its acquisition.”). Plaintiffs make a technical argument

                                  28   that torrenting does involve data processing, specifically, a torrented file is downloaded in pieces,
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                                   1   which the client then reassembles into the whole file. See ME2 Productions, Inc. v. Bayu, 2017

                                   2   WL 5165487, *2 (D. Nev. Nov. 7, 2017) (“Once a peer has downloaded the entire file by

                                   3   downloading each of its pieces, the client reassembles the pieces and the peer is able to view the

                                   4   file as a whole.”). However, that is still just a method of obtaining material, whereas RFP 119 is

                                   5   directed to what Meta does with it. Plaintiffs’ motion to compel is DENIED.

                                   6          2.        Supervised Fine-Tuning Data
                                   7          The Court will address this issue in a separate order in connection with ECF No. 361.

                                   8          3.        Llama 4 and 5 Training Datasets
                                   9          Plaintiffs move to compel production of the datasets used to train Llama 4 and 5. Meta

                                  10   says that Plaintiffs did not ask for this in discovery. Meta observes that Plaintiffs’ first three RFPs

                                  11   were for “The Training Data for Llama [1/2/3],” and Meta says there was no similar request for

                                  12   Llamas 4 or 5.
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                                  13          Plaintiffs do not have a good response. They argue that this data is responsive to RFP 81,

                                  14   but that asked for documents about “the decision” to use shadow datasets for training Llama

                                  15   models, not for data sets themselves. They also point to RFPs 6-12, which asked for documents

                                  16   and communications with various organizations, not for datasets. It also appears that a motion to

                                  17   compel on RFPs 6-12 was required to be brought by November 8, 2024. ECF No. 258.

                                  18          Accordingly, Plaintiffs’ motion to compel is DENIED.

                                  19   F.     ECF No. 357 (Meta’s Rog Responses)
                                  20          On December 13, 2024, Meta served supplemental responses to Plaintiffs’ first, second and

                                  21   third sets of interrogatories. Plaintiffs move to compel on several of these rogs.

                                  22          A threshold issue is whether Plaintiffs’ challenges to Meta’s responses to the first and

                                  23   second sets of rogs are time-barred. Meta served its responses to the first set of rogs on February

                                  24   23, 2024 and served its responses to the second set of rogs on September 30, 2024. Those

                                  25   responses therefore constituted “existing written discovery,” and November 8, 2024 was the

                                  26   deadline to raise any disputes about them. ECF No. 258. However, as Meta served amended

                                  27   responses on December 13, 2024, the Court finds that those amended responses were not “existing

                                  28   written discovery,” and challenges to those responses are timely. The Court is not going to
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                                   1   compare the December 13 responses to the previous responses to see what changed and only deem

                                   2   challenges timely if they are to the changes. An amended response is a new response. As a

                                   3   practical matter, Meta was free to revise its responses as much or as little as it chose, and Plaintiffs

                                   4   could not know the extent of the revisions until they received them. Accordingly, all of Plaintiffs’

                                   5   challenges to the December 13 amended responses are timely.

                                   6          1.      Set One
                                   7          In the first set of rogs, Meta’s December 13 supplemental responses included responses to

                                   8   rogs 1, 3, 4, 5, 6, 7, 8, 10, 11, 12, 13, 14 and 15. Rogs 1, 3, 4, 5, 7, 8, 10, 12, 13 and 15 asked

                                   9   about “Meta Language Model” or “Meta Language Models.” Plaintiffs complain that Meta

                                  10   limited its responses to Llamas 1, 2 and 3 and excluded Llamas 4 and 5. However, as Plaintiffs

                                  11   acknowledge, “the ROGS initially defined only Llamas 1-3.” ECF No. 357 at 2. While the Court

                                  12   did find that Llamas 4 and 5 are relevant, it did not rewrite Plaintiffs’ discovery requests.
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                                  13          Plaintiffs argue that Meta improperly limited the term “agreements” to written contracts

                                  14   and “training data” to Books3. Meta responds that it did not stand on either objection in

                                  15   answering the rogs. With respect to rog 1, the Court can see that Meta did not stand on its

                                  16   objection to “training data.” But for rog 5, it sure looks like Meta did stand on the objection to

                                  17   “agreements.” Accordingly, the Court GRANTS Plaintiffs’ motion to compel as to rog 5 and

                                  18   ORDERS Meta to answer it by also including oral contracts, arrangements or understandings,

                                  19   whether formal or informal. See ECF No. 315 at 8.

                                  20          Rog 1. Plaintiffs challenge Meta’s failure to include Llamas 4 and 5. However, the Court

                                  21   has addressed that issue above.

                                  22          Rog 2. Meta’s December 13 amended responses did not include rog 2. Plaintiffs seek

                                  23   confirmation that Meta’s August 22, 2024 response continues to be the final response. Meta so

                                  24   confirms.

                                  25          Rogs 3 and 7. Plaintiffs again argue that Meta’s responses do not include Llamas 4 and 5.

                                  26   However, the Court has addressed that issue above. Plaintiffs also make a two-sentence argument

                                  27   that these rog responses do not include sufficient information about fine-tuning. However, both

                                  28   responses include Rule 33(d) references to documents and testimony, which Plaintiffs do not
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                                   1   discuss or address. The Court therefore finds that this motion to compel is not sufficiently

                                   2   explained. Moving across the board on three sets of rogs in a single joint discovery letter brief

                                   3   was not a great idea because it has resulted in many of Plaintiffs’ arguments being perfunctory.

                                   4            Rog 4. Meta argues that this rog is largely irrelevant because most of the risks at issue

                                   5   have nothing to do with copyright infringement. Plaintiffs do not meaningfully respond.

                                   6            Rog 8. Plaintiffs argue that Meta’s response does not include Llamas 4 and 5. The Court

                                   7   has addressed that issue above.

                                   8            Rog 10. Plaintiffs argue that Meta limited its definition of “training data” to Books3, but

                                   9   the Court can see from the cross-reference to rog 1 that this is untrue. Plaintiffs do not explain the

                                  10   relevance of the additional information they seek in this rog.

                                  11            Rog 13. Plaintiffs again argue that Meta did not include Llamas 4 and 5 in its answer, but

                                  12   the Court has addressed that issue. Plaintiffs also argue that Meta failed to list any forbidden
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                                  13   datasets and why they were prohibited. Given that most of the risks Meta identified in the Llama

                                  14   2 and 3 papers had nothing to do with intellectual property, the Court finds that Plaintiffs have not

                                  15   adequately explained the relevance and proportionality of that information.

                                  16            2.     Set Two
                                  17            Meta’s December 13 responses to set two responded to rogs 16 and 17. Rog 16 asked

                                  18   Meta to “[s]tate all facts on which you base Your contention that Your conduct constitutes fair use

                                  19   (17 U.S.C. § 107).” Rog 17 asked: “If You or any of Your employees and/or agents intend to

                                  20   assert the advice of counsel defense, state any and all facts upon which You or any of your

                                  21   employees and/or agents intend to rely on for that contention.”

                                  22            Plaintiffs state that Meta limits its responses to Llamas 1-3. The Court has addressed that

                                  23   issue.

                                  24            Plaintiffs state that Meta improperly limited the definition of “agreements” to written

                                  25   contracts. However, the Court does not see what that has to do with rogs 16 or 17, which do not

                                  26   ask about agreements.

                                  27            Plaintiffs also state that Meta improperly limited “training data” to Books3. However, that

                                  28   does not appear relevant to rogs 16 and 17, which do not ask about training data.
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                                   1          3.        Set Three

                                   2          Meta’s December 13 responses to set three included responses to rogs 19-25.

                                   3          Plaintiffs state that Meta continues to limit its responses to Llamas 1-3, which here also

                                   4   resulted in not disclosing all datasets it uses with Llamas 4 and 5. The Court has addressed that

                                   5   issue already.

                                   6          Rog 19. Meta’s response appears to comply with the parties’ agreement. ECF No. 357-5.

                                   7          Rog 22 asked: “Describe any efforts You have made to obtain licenses or any similar

                                   8   permissions to use Shadow Datasets, or the works contained therein, to train Llama Models.”

                                   9   Meta responded: “Meta has not sought licenses or other consent, and maintains that it did not

                                  10   need licenses or other consent, to use the Third Party Datasets to train the Llama Models, because

                                  11   such use was fair use.” Plaintiffs object to the extraneous information in the response. However,

                                  12   unlike a narrow, focused RFA, this rog (“Describe any efforts”) plainly asked for a narrative
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                                  13   response, and it is not out of bounds for a narrative response to say why the litigant did what it did.

                                  14          Rog 23 asked Meta to “[i]dentify all sources from which You have obtained Shadow

                                  15   Datasets.” Plaintiff contend that Meta’s response fails to identify what datasets it obtained from

                                  16   Anna’s Archive. However, that information is not responsive to this rog.

                                  17          4.        Conclusion
                                  18          The Court GRANTS Plaintiffs’ motion to compel as to rog 5, as explained above, and

                                  19   otherwise DENIES the motion.

                                  20          IT IS SO ORDERED.

                                  21

                                  22   Dated: January 2, 2025

                                  23
                                                                                                     THOMAS S. HIXSON
                                  24                                                                 United States Magistrate Judge
                                  25

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